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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 21-60653-CIV-SMITH

 DWAYNE JOHNSON,

        Plaintiff,
 vs.

 NATIONAL DELIVERY SYSTEMS, LLC,

        Defendant.
                                                     /

   ORDER AFFIRMING AND ADOPTING REPORT OF MAGISTRATE JUDGE AND
                         DISMISSING CASE

        This matter came before the Court upon the Magistrate Judge’s Report and

 Recommendation to District Judge [DE 13], in which she recommends approving the parties’

 settlement and dismissing the case with prejudice. The parties have filed a Joint Notice of No

 Objection to Report & Recommendation to District Judge [DE 14]. Having reviewed, de novo,

 the Report of Magistrate Judge and the record, and given that there are no objections, it is

        ORDERED that:

        1)      The Report and Recommendation to District Judge [DE 13] is AFFIRMED and

 ADOPTED and incorporated by reference into this Court’s Order.

        2)      The Joint Motion to Review and Approve FLSA Settlement and Dismiss Action

 with Prejudice [DE 12] is GRANTED. The Settlement Agreement is approved.

        3)      All pending motions are DENIED as moot.

        4)      The Court shall retain jurisdiction to enforce the Settlement Agreement through

 June 25, 2021.

        5)      This case is DISMISSED with prejudice.
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       6)    This case is CLOSED.

       DONE and ORDERED in Fort Lauderdale, Florida, this 25th day of May, 2021.



                                        _______________________________
                                        RODNEY SMITH
                                        UNITED STATES DISTRICT JUDGE
 cc:   All Counsel of Record
